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             (Rev. 12/11) Judgment in a Criminal Petty Case
                                                                                                                                Oct 21 2020
AO 245B

             Sheet 1

                                        UNITED STATES DISTRICT COURT                                                                s/ judep



                                              SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                 JUDGMENT IN A
                                         v.                                   CRIMINAL CASE
                                                                              (For Offenses Committed On or After November 1, 1987)
                   Josue Antonio Palacios-Beltran (1)
                                                                              Case Number: 20CR2600-BGS
                                                                              Samantha Jaffe , FD
                                                                              Defendant’s Attorney
REGISTRATION NO. 95931298


THE DEFENDANT:
 X pleaded guilty to count(s) 1 of the Superseding Information

     was found guilty on count(s)
     after a plea of not guilty.
     Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                        Count
Title & Section                                                         Nature of Offense                                              Number(s)
8:1325                                                     Improper Entry by an Alien (Misdemeanor)                                     1




         The defendant is sentenced as provided in pages 2 through                  2        of this judgment.

  The defendant has been found not guilty on count(s)
X Count(s) underlying Information                                           is          are X dismissed on the motion of the United States.
  Assessment: $10- WAIVED




   Fine waived                                       Forfeiture pursuant to order filed                                       , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                 October 20, 2020
                                                                                 Date of Imposition of Sentence




                                                                                 HON. BERNARD G. SKOMAL
                                                                                 UNITED STATES MAGISTRATE JUDGE

                                                                                                                                               20CR2600-BGS
             Case 3:20-cr-02600-BGS Document 29 Filed 10/21/20 PageID.108 Page 2 of 2
AO 245B      (Rev. 12/11) Judgment in Criminal Petty Case
             Sheet 2 — Imprisonment

                                                                                                          Judgment — Page   2    of    2
DEFENDANT: Josue Antonio Palacios-Beltran
CASE NUMBER: 20CR2600-BGS
                                                                    IMPRISONMENT
           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
            a term of :
            Ninety (90) days.


          Sentence imposed pursuant to Title 8 USC Section 1326(b).
          The court makes the following recommendations to the Bureau of Prisons:




          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
                at                                           a.m.        p.m.    on                                         .
                as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                         RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                            to

at                                                          , with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL

                                                                                By
                                                                                                   DEPUTY UNITED STATES MARSHAL




                                                                                                                                20CR2600-BGS
